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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 21-cv-00387-NRN

DARLENE GRIFFITH,

Plaintiff,

v.

EL PASO COUNTY, COLORADO,
WELLPATH, LLC,
CHRISTINE MOHR, in her individual capacity,
DOCTOR JANE ROE, in her individual capacity,
SHERIFF BILL ELDER, in his individual and official capacities,
COMMANDER CY GILLESPIE, in his individual capacity,
DEPUTY JOHN DOE, in his individual capacity,
DEPUTY JANE DOE, in her individual capacity,
DEPUTY F/N/U DRAPER, in his individual capacity,

Defendants.

                                    MINUTE ORDER

Entered by Magistrate Judge N. Reid Neureiter

       It is hereby ORDERED that a Status Conference is set on October 19, 2021 at
3:30 p.m. to address the briefing schedule for Plaintiff’s Motion for Preliminary Injunction
(Dkt. #48), status of service of process on Defendants, and status of Defendants’
consent to the jurisdiction of a magistrate judge.

      The parties are directed to call the conference line as a participant at (888) 398-
2342, Access Code 5755390# at the scheduled time.

Date: October 15, 2021
